Case 2:19-cv-00276-WB Document1-5 Filed 01/18/19 Page 1of1
UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: Katherine Crockett, 1830 Lombard Street, Apt. 714; Philadelphia, Pa. 19146

 

Address of Defendant: Luitpold Pharmaceuticals, Inc.; 5 Ramsey Rd., Shirley, NY 11967

 

Place of Accident, Incident or Transaction: Pen nsylvan la

 

 

RELATED CASE, IF ANY:
Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1, Is this case related to property included in an earlier numbered suit pending or within one year Yes [_] No
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [ | No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [] No
numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No
case filed by the same individual?

I certify that, to my knowledge, the within case (7 is / [2] is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

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Attorney-at-Law / Pro Se Plaintiff Attorney LD. # (if applicable)

CIVIL: (Place a ¥ in one category only)
A, Federal Question Cases: B. Diversity Jurisdiction Cases:
oO 1 Indemnity Contract, Marine Contract, and All Other Contracts (1 1. Insurance Contract and Other Contracts
[] 2. FELA [] 2. Airplane Personal Injury
(1 3. Jones Act-Personal Injury C1 3. Assault, Defamation
CL] 4. Antitrust LJ 4. Marine Personal Injury
H 5. Patent (J 5. Motor Vehicle Personal Injury

6. Labor-Management Relations (J 6. Other Personal Injury (Please specify):
(1 7. Civil Rights 7. Products Liability
(1 8. Habeas Corpus CJ 8. Products Liability — Asbestos
tH 9. Securities Act(s) Cases C] 9% All other Diversity Cases

10. Social Security Review Cases (Please specify):
($11. All other Federal Question Cases

(Please specify):

 

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case from eligibility for arbitration.)

, Heather C. Giordanella

, counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[ Relief other than monetary damages is sought.

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Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

Civ, 609 (5/2018)

 
